 

eggs ~@He€er?€nzneeem* *HF'S.IWSM_Y££U“HFAWNAHZ/ nine Pane l of 2 Dage!@ ge

 

 

 

 

l. cmmlsT./Dlv. cone 2. PERSON REPRESENTED \FO`LCHER Nu§oen '
TNW Rogers, Willle
3. MAG. m<wm:F. NuMBER 4. msT. m<T..'nEF. women s. APPEALS oKT./neF. NUMBER e. owen DKT. women
2:05-020212-003
1. m cAsErMATTER or rem mm s. PAvMI»:Nr cATEGoRY 9. wm mason REPRESENTED 10. leger neseNrA)TloN TWE
_e qstruclmui
U.S. v. Ro§ers Felony Aduit Defendant Crlmmal Case

 

 

 

 

ll. OFFENSE(S) CH ARGED (Cite U.S. Code, Title & Section) lfmore than one ofTense, list (up to ilve} major uffmses charged, according lo severity ofoll'euse.

l) 18 2118A. F -- ROBBERY OF CONTROLLED SUB STANCE

 

 

   
   
 
   
   

 

 
  

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§§ 11

ll. ATI`ORNEY'S NAME FirstName`M.l.,Lasl Name,int:luding anysul'fl!) 13. COURT ORDER O‘:“" (/ :'

ANDMAILING ADDRE S 0 Appoinling€ounsei l:l C Co-»Counse| 'é- e"",~_ (,’..; - t

KERN, LAWRENCE D F SubsFor FederalDefender E ll S\lhs For Relai'\@'£§`jdraey "" ", __

SUITE 600 |:l P SubsFor PanelAttomey I] Y StandbyCounlel jj '

5118 pARK PriorAnoroey'tName: C;:' '

MEMPH]S TN 38117 Aw'=\mm“w-w= _____- /\ '-'

 

m Because the above-named person represented lillianth under nl|l\ again fl
otherwise satisfied this court that he or site (l) is financially unable to employ'eml alia
T . . .. . .

14. NAME AND MAILING ADDR.ESS OF LAW FlRM (oniy provide per instructions]

 

 

_§lgllature of Presiding .lu - icial Oiiicer or By Order oflhe Coun

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

06/ i d./') 00 §
Da|e al'Order Nunr: l’ro 'Tunc Date
Repaymenl or partial repayment ordered from the person represented for this s ervi¢e at
time of appoinlmeul. m YES m NO
> v. \=-, 7 . . . »‘ . ~». t . ‘ _ - .;;-\ m \- _,.;;
TOTAL MATH.'TECH MATIVTECH
cummins mach icemiza¢ion onerous with ones “OU “S AMouNT Ao.rusren An.ms'n-:o ADD""°NAL
( ) CL‘“MED cLAlMeD nouRs moon REVIEW
15. a. Arralgnment andfor P|ea
b. Bail and Detention l'learings
c. Motion Hearings
I .
n d. Trlal
C e. Sentencing Hearings
3 f. Revocation l~learings
§ g. Appeais Court
h. Other (Specify on additional sheets)
(Rate per hour = $ ) TOTALS:
16. a. Interviews and Conferences
g |J. Obtaining and reviewing records
o e. Legal rese arch and brief writing
; d. Travel time
3 e. lnvestlgativ e and Other work cspeelfy on additional mem _J
r
t (Rate per hour - $ ) TOTALS:
17. Travel Expenses (|odging, parking, meals, mileage, etc.) 7
Other Expenses [other than experl, transcripts, etc.)
19. CERTlFlCA'l'lON OF ATTORNEY!FAYEE FOR THE PER.|OD 0 F SERVICE 1(}. APPO|NTMENT TERMlNATION DATE 21. CASE DISPO SITION
. [F OTIIER THAN CASE COMPLET|ON
FROM ___,____ l`() ________
22. CLA.\M STATUS i:] Fiool Payment l:l interim Payment Number __ I:I Supplemenlal Paymenl
Have you previously applied to the court for compensation and.lor remimhurlement for this ease'.’ \:l YES l:] NO ii`yel, were you pald'.’ [:] YES i:l NO
Other than from the eourt, have you, or tnynur knowledge has anyone else, received payment (compensalion or anything or value) l'rom any other source in connection wilh this
representalian'.’ [:l YES m NO lf yes, give details on additional sheets.
l swear or affirm the truth or correctness ol' the above statements.
Si nature of Attnrney' Date:

   

 
   
      
 

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. IN COURT COMP. 24. OUT OF COURT COMP. 25. 'I`RAVEL EXPENSES 26.` O;HER EXPENSES 21. TOTAL nMT. A;PRiCERT
28. SIGNATURE OF THE PRESIDINC JUDlClAL ()FFICER DATE 28a. JUDGE l MAG. JUDGE (.'ODE
29. IN COURT COMF. 30. OUT OF COURT COMP. 31, TRAVEL EXPENSES 31. OTHER EXPENSES 33. TOTAL AMT. APPROVED
34. S`Ip(`_;¢meteslil“lg'luRFOFHJEEI£HRE}“E;$C"E§}H“O"E APP EALS (OR DELEGATE) l’ayment DATE 34a. JUDGE CODE

 

 

 

 

 

This dochnent entered on the docket sheet In compiian
with note 55 and/or 32¢b) FRch on _LJ__Zu_C£~ l ' 3(0

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
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Honorable Samuel Mays
US DISTRICT COURT

